       Case 3:05-cr-05828-RBL           Document 230        Filed 09/17/07       Page 1 of 3



 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

10    UNITED STATES OF AMERICA,
11                    Plaintiff,
                                                                  Case No. CR05-5828FDB
12            v.
                                                                  ORDER DENYING DEFENDANT
13    KEVIN TUBBS, JOSEPH DIBEE,                                  WATERS’ MOTION TO LIMIT
      JOSEPHINE S. OVERAKER, JUSTIN                               COUNT 6 OF THE INDICTMENT TO
14    SOLONDZ, and BRIANA WATERS,                                 ARSON OF A BUILDING USED IN
                                                                  INTERSTATE COMMERCE
15                    Defendants.
16
            Defendant Waters moves to limit Count 6 (charging use of a destructive device during a
17
     crime of violence pursuant to 18 U.S.C. § 924(c)) of the Fourth Superseding Indictment to arson of
18
     a building used in interstate commerce as charged in Count 5. Because of the five-year statute of
19
     limitations for violations of 18 U.S.C. § 924(c), Waters argues that Count 7 charging arson of a
20
     building belonging to an institution receiving Federal financial assistance, which has a ten-year
21
     limitation period, would impermissibly expand the predicate for a crime of violence under Section
22
     924(c), which has a five-year limitation period. Defendant concedes that Counts 5 and 6 are within
23
     the five-year limitation period.
24
            The Government argues that the language of Count 6 identifies the predicate offense only as
25

26   ORDER - 1
       Case 3:05-cr-05828-RBL            Document 230         Filed 09/17/07       Page 2 of 3



 1   “the arson of the Center for Urban Horticulture at the University of Washington”; the count does not

 2   allege that this predicate offense involved destruction of a building in interstate commerce or that it

 3   involved destruction of a building of an institution receiving Federal financial assistance (18 U.S.C §§

 4   844(i) & (f), respectively.

 5           Defendant Waters counters the Government’s response arguing that “arson” is not in and of

 6   itself a crime, that it must refer to a specific offense, under a particular criminal code, with particular

 7   elements. Thus, the only arson offense that Waters was accused of in Count 5 was arson of a

 8   building in interstate commerce. Waters concludes that the import of the difference is providing

 9   notice to an accused, and Waters only received notice that she was charged with arson of a building

10   in interstate commerce, § 844(k) and use of a destructive device during that arson under § 924(c),

11   and, therefore, that she is “entitled to the mental repose of not having to stand trial on a § 924(c)

12   charge based upon an arson predicated on some other statutory section.”

13           In United States v. Randall, 171 F.3d 195 (4th Cir. 1999), the Court noted that the

14   Government has no obligation to specify the particular crime of violence underlying the 18 U.S.C. §

15   924(c) charge, but that

16           if the government specifies in the indictment the § 924(c) predicate offense on which
             it is relying, “[a] conviction that rests, no matter how comfortably, on proof of
17           another [predicate] offense cannot stand.

18   Id. at 205. In Randall, the indictment specified that the predicate offense of distribution of a

19   controlled substance, but the jury instructions allowed conviction based on a different predicate

20   offense – possession with intent to distribute – therefore, the Court reversed the convictions.

21           Waters acknowledges Randall, but argues that in the Second Superseding Indictment, the

22   only arson offense that Waters was accused of committing was in Count 5, arson of a building in

23   interstate commerce; therefore, Count 6 must have been based on such arson.

24           A reading of Count 6 reveals that Waters’ argument lacks merit. Count 6 charges use of “a

25   destructive device (an incendiary bomb), during and in relation to a crime of violence, to wit: the

26   ORDER - 2
       Case 3:05-cr-05828-RBL           Document 230        Filed 09/17/07      Page 3 of 3



 1   arson of the Center for Urban Horticulture at the University of Washington, a crime for which they

 2   may be prosecuted in a court of the United States.” Count 6 provides notice that the use of a

 3   destructive device during a crime of violence in relation to the arson of the Center for Urban

 4   Horticulture at the University of Washington is being charged, and there is no qualification that the

 5   building involved interstate commerce or that the building belonged to an institution receiving

 6   Federal financial assistance. Count 5 is separate from Count 6, and Count 6 is sufficiently

 7   informative of the offense charged.

 8          ACCORDINGLY, IT IS ORDERED: Motion of Defendant Waters to Limit Count 6 of the

 9   Fourth Superseding Indictment To Arson of A Building Used in Interstate Commerce [Dkt. # 170] is

10   DENIED.

11

12          DATED this 17th day of September, 2007.

13

14

15
                                           A
                                           FRANKLIN D. BURGESS
                                           UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24

25

26   ORDER - 3
